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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEVADA



CUNG LE, NATHAN QUARRY, JON FITCH,                   Case No. 2:15-cv-01045-RFB-BNW
BRANDON VERA, LUIS JAVIER
VAZQUEZ, AND KYLE KINGSBURY, on
behalf of themselves and all others similarly
situated,

                                Plaintiffs,

       v.

ZUFFA, LLC d/b/a ULTIMATE FIGHTING
CHAMPIONSHIP AND UFC,

                                Defendant.



           DECLARATION OF STEVEN WEISBROT OF ANGEION GROUP, LLC
     RE: IMPLEMENTATION OF NOTICE PLAN AND REPORT ON EXCLUSIONS AND
                           OBJECTIONS RECEIVED

I, Steven Weisbrot, declare and state as follows:
1.      I am the President and Chief Executive Officer at the class action notice and claims

administration firm Angeion Group, LLC (“Angeion”). I am fully familiar with the facts contained

herein based upon my personal knowledge.

2.      My credentials were previously reported to this Court in the Declaration of Steven Weisbrot

of Angeion Group LLC Re: Angeion Qualifications and the Proposed Notice Plan (ECF 916-1)

(“Notice Plan Declaration”).
3.      Angeion is not related to or affiliated with the Plaintiffs, the Defendant, Class Counsel or



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Defendant’s Counsel.

4.      Angeion was retained as the Notice Administrator and appointed by the Court pursuant to

the Order Granting Plaintiffs’ Unopposed Motion to Approve Class Notice Plan (ECF 921).

5.      The purpose of this declaration is to provide the Court with a summary of the

implementation of the Notice Plan and information regarding opt-outs from the Bout Class.

                                    Summary of the Notice Plan

6.      The Notice Plan includes direct notice via email and mail to all reasonably-identifiable

Bout Class members, a comprehensive media campaign, and posting notice in notable Mixed

Martial Arts (“MMA”) Gyms. The Notice Plan also includes the implementation of a dedicated

website and toll-free telephone support where Bout Class members can learn more about their

rights and options in the litigation.

                                         Bout Class List

7.      On or about November 18, 2023, Angeion received from Class Counsel files containing

contact information for Bout Class members (“Bout Class List”). After standardizing, normalizing,

and de-duping the information, the Bout Class List contained 1,286 unique names, of which 881

had mailing addresses, and 933 had email addresses.

                                          Mailed Notice

8.      Prior to mailing, Angeion ran the mailing addresses contained on the Bout Class List
through the United States Postal Service’s (“USPS”) National Change of Address (“NCOA”)

database, which provides updated addresses for all individuals who have moved during the

previous four years and filed a change of address form with the USPS.

9.      On December 8, 2023, Angeion caused the Long-Form Notice to be mailed to 881 Bout

Class members on the Bout Class List with mailing addresses, which included 619 U.S. mailing

addresses. The Long-Form Notice was sent via USPS First-Class mail, postage prepaid. A true and

correct copy of the Long-Form Notice is attached hereto as Exhibit A.

10.     As of January 31, 2024, Angeion has received from the USPS 82 Notices returned as
undeliverable with no forwarding address. Angeion performed address verification searches


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(commonly referred to as “skip traces”) and is in the process of remailing 59 Notices to the updated

addresses identified through the skip trace process as required by the notice plan. Each of the Bout

Class members whose mailed Notice was returned as undeliverable however, had already received

the Short Form Notice by email.

                                          Email Notice

11.     On December 8, 2023, Angeion caused the Short-Form Notice to be disseminated by email

(“Email Notice”) to Bout Class members from the Bout Class List that had valid email addresses.

Of the total 933 Email Notices sent, 880 were delivered and 56 were identified as hard bounces or

otherwise undeliverable and were unable to be delivered. Of the 56 Bout Class members whose

emails were undeliverable, all but five (5) were mailed Notices. Angeion is in the process of

attempting to locate updated email addresses for these class members. To the extent updated email

addresses are obtained, Angeion will send the email to notice to any updated addresses. A true and

correct copy of the email notice is attached hereto as Exhibit B.

                                       MMA Gym Notice

12.     Angeion worked with Class Counsel to identify 48 professional MMA Gyms and, on

December 8, 2023, Angeion caused poster-sized notices to be mailed to these gyms with a request

to post the notice in a visible area for Bout Class members to view. A true and correct copy of the

Poster Notice and cover letter is attached hereto as Exhibit C.
                                        Media Campaign

13.     In addition to the direct notice efforts described above, the Notice Plan included a media

campaign comprised of targeted social media notice via Facebook, Instagram, and X, a paid search

campaign via Google, and a press release via PR Newswire.

14.     On December 8, 2023, Angeion commenced the targeted social media campaign via

Facebook, Instagram, and X, using the email addresses from the Class List. Angeion also

researched and identified verified social media accounts for 308 of the 353 Bout Class members

who did not have an email address on the Bout Class List. The verified social media accounts that
were located were included in the targeted social media campaign.


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15.     On December 8, 2023, Angeion commenced the paid search campaign via Google, which

was designed to help drive Bout Class members who were actively searching for information about

this litigation to the dedicated website.

16.     In total, the social media and paid search campaigns delivered a total of 1,755,647

impressions. True and accurate copies of the social media advertisements are attached hereto as

Exhibit D.

                                              Press Release

17.     On December 8, 2023, Angeion caused a press release regarding the litigation to be

distributed over PR Newswire. A true and accurate copy of the press release is attached hereto as

Exhibit E.

                                            Dedicated Website

18.     On December 8, 2023, Angeion established the following website dedicated to this

litigation: www.UFCFighterClassAction.com. The dedicated website contains general information

about the litigation and related deadlines, as well as important documents, including downloadable

copies of the Notices, the Notice of Certification of the Class, the Consolidated Amended

Complaint, and the Order Granting in Part and Denying in Part the Motion to Certify the Class.

The dedicated website also contains a list of Frequently Asked Questions and a Contact Us link

whereby members of the Bout Class can send an email to a dedicated email address established
for the litigation: Info@UFCFighterClassAction.com. Bout Class members can also provide their

contact information to receive future updates pertaining to the litigation.

19.     Between December 8, 2023, and January 31, 2024, the dedicated website registered a total

of 11,658 page views from 10,165 unique visitors, with 4,929 visitors registering for future

updates.

                                            Toll-Free Hotline

20.     On or before December 8, 2023, Angeion established the following toll-free hotline

dedicated to this litigation: 866-955-5564. The hotline utilizes an interactive voice response
(“IVR”) system to provide callers with responses to frequently asked questions and to inform


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members of the Bout Class of important dates and deadlines pertinent to the litigation. The toll-

free hotline is accessible 24 hours a day, 7 days a week.

                             Report on Opt-Outs Received to Date

21.     The deadline for members of the Bout Class to submit a request for exclusion (“opt-out”)

from the Class was January 22, 2024. To date, Angeion has not received any opt-out requests.

Angeion was made aware of one opt-out request that was sent to Class Counsel, however it was

determined that this request was made by an individual that did not meet the criteria to be included

in the Bout Class.

                                            Conclusion

22.     The Notice Plan implemented in this litigation included direct notice to all reasonably

identifiable Bout Class members via email and mail, complemented by a comprehensive media

and outreach campaign. The Notice Plan also provided for the implementation of a dedicated

website and toll- free hotline to further inform Bout Class members of their rights and options in

the litigation.

23.     It remains my professional opinion that the Notice Plan provided full and proper notice to

members of the Bout Class, and was the best notice practicable under the circumstances, fully

comporting with due process requirements and Fed. R. Civ. P. 23.

        I hereby declare under penalty of perjury that the foregoing is true and correct to the best
of my knowledge.

Dated: February 5th, 2024
                                                      ______________________________
                                                      STEVEN WEISBROT




                             DECLARATION OF STEVEN WEISBROT
